                  Case 20-10343-LSS               Doc 5988        Filed 08/12/21          Page 1 of 6




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 11

    BOY SCOUTS OF AMERICA AND                               Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                            Jointly Administered
                                    Debtors.
                                                            Re: D.I. 5897, 5898, 5905, & 5906



      HARTFORD’S MOTION FOR ENTRY OF AN ORDER AUTHORIZING
   HARTFORD TO FILE UNDER SEAL (I) PORTIONS OF HARTFORD’S INITIAL
  OBJECTION TO THE MOTION OF THE COALITION OF ABUSED SCOUTS FOR
    JUSTICE, THE OFFICIAL COMMITTEE OF TORT CLAIMANTS, AND THE
FUTURE CLAIMS REPRESENTATIVE TO STRIKE TESTIMONY REGARDING THE
 REASONABLENESS OF THE HARTFORD SETTLEMENT, AND (II) EXHIBIT B TO
         THE DECLARATION OF ERIN R. FAY IN SUPPORT OF SAME

             Hartford Accident and Indemnity Company, First State Insurance Company, Twin City

Fire Insurance Company, and Navigators Specialty Insurance Company (collectively, “Hartford”)

file this motion (the “Motion”) seeking entry of an order (the “Proposed Order”), substantially in

the form attached hereto as Exhibit 1, (i) authorizing Hartford to file under seal (a) certain limited

portions of Hartford’s Initial Objection to the Motion of the Coalition of Abused Scouts for Justice,

the Official Committee of Tort Claimants, and the Future Claims Representative to Strike

Testimony Regarding the Reasonableness of the Hartford Settlement [D.I. 5905] (the “Objection”),

and (b) Exhibit B attached to the Declaration of Erin R. Fay in Support of Hartford’s Initial

Objection to the Motion of the Coalition of Abused Scouts for Justice, the Official Committee of

Tort Claimants, and the Future Claims Representative to Strike Testimony Regarding the



1
      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
      number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
      address is 1325 West Walnut Lane, Irving, Texas 75038.
              Case 20-10343-LSS            Doc 5988    Filed 08/12/21      Page 2 of 6




Reasonableness of the Hartford Settlement [D.I. 5906] (the “Fay Declaration”), and (ii) directing

that the Confidential Information (as defined below) shall remain under seal and confidential

pursuant to the terms of the Protective Order (as defined below) entered in these cases and not be

made available to anyone, except to the Court and the Office of the United States Trustee for the

District of Delaware (the “U.S. Trustee”); and (iii) granting related relief. In support of the Motion,

Hartford respectfully states as follows:

                                 JURISDICTION AND VENUE

       1.      The United States Bankruptcy Court for the District of Delaware (the “Court”) has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing

Order of Reference from the United States District Court for the District of Delaware, dated

February 29, 2012. Hartford confirms its consent, pursuant to rule 9013-1(f) of the Local Rules

of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware (the “Local Rules”), to the entry of a final order by the Court in connection with this

motion to the extent that it is later determined that the Court, absent consent of the parties, cannot

enter final orders or judgments in connection herewith consistent with Article III of the United

States Constitution.

       2.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       3.      The bases for the relief requested herein are section 107(b) of title 11 of the United

States Code, 11 U.S.C. §§ 101-1532 (as amended, the “Bankruptcy Code”), Bankruptcy Rule

9018, and Local Rule 9018-1.

                                           BACKGROUND

       4.      This Court has previously entered (i) the Order Approving Confidentiality and

Protective Order (June 8, 2020) [D.I. 799], which entered Exhibit 1 the Confidentiality and

Protective Order [D.I. 799-1] (the “Protective Order”), and (ii) the Order (I) Appointing


                                                  2
                  Case 20-10343-LSS        Doc 5988     Filed 08/12/21     Page 3 of 6




Mediators, (II) Referring Certain Matters to Mediation, and (III) Granting Related Relief (June

9, 2020) [D.I. 812] (the “Mediation Order”).

        5.         On August 6, 2021, the Coalition of Abused Scouts for Justice (the “Coalition”),

the Official Committee of Tort Claimants to Boy Scouts of America and Delaware BSA, LLC

(the “TCC”), and the Future Claims Representative (the “FCR” and together with the Coalition

and the TCC, the “Movants”) filed the Motion to the Coalition of Abused Scouts for Justice, the

Official Committee of Tort Claimants, and the Future Claims Representative to Strike Testimony

Regarding the Reasonableness of the Hartford Settlement [D.I. 5897/5898].

        6.         Because the Objection and Exhibit B to the Fay Declaration include references to

certain information and deposition testimony (the “Confidential Information”) that has been

marked as Highly Confidential by the Debtors, Hartford seeks leave to file such information

under seal, pursuant to the terms of the Protective Order.

                                       RELIEF REQUESTED

        7.         By this Motion, Hartford requests entry of the Proposed Order (a) authorizing

Hartford to file under seal the Confidential Information pursuant to the terms of the Protective

Order; (b) directing that the Confidential Information shall remain under seal and confidential

and not be made available to anyone, except to the Court and the U.S. Trustee; and (c) granting

related relief.

                                        BASIS FOR RELIEF

        8.         Section 11.1 of the Protective Order provides, in relevant part, that “[a]ny Party

or party in interest seeking to use deposition testimony designated as Protected Material in the

Bankruptcy Court must proceed in accordance with Paragraph 7.6.” See Protective Order, § 11.1.




                                                    3
              Case 20-10343-LSS        Doc 5988      Filed 08/12/21     Page 4 of 6




        9.     Section 7.6 of the Protective Order governs the filing or submitting of Protected

Material, which is defined as “Discovery Material designated as ‘CONFIDENTIAL,’ ‘HIGHLY

CONFIDENTIAL,’ or ‘COMMITTEE ADVISOR ONLY.’” Section 7.6 provides in relevant

part that:

               any document containing Protected Material that is submitted to or
               filed with the Bankruptcy Court must be filed under seal as a
               restricted document in accordance with Local Rule 9018-1 and any
               applicable Chambers Procedures, or as otherwise ordered by the
               Bankruptcy Court. All Protected Material for which a Party or Party
               in Interest is requesting permission to file under seal (“Sealed
               Documents”) pursuant to this Order shall be filed in unredacted form
               in conformity with the sealing procedures set by the Clerk of the
               Bankruptcy Court. Such Sealed Documents shall be released by the
               Clerk of the Bankruptcy Court only upon further order of the
               Bankruptcy Court.

               Any Party or Party in Interest that files a motion to file under seal
               with the Bankruptcy Court shall provide counsel to the U.S. Trustee
               with an unredacted copy of all documents sought to be sealed,
               pursuant to section 107(c)(3)(A) of the Bankruptcy Code.

Id. § 7.6.

        10.    The Debtors designated the Confidential Information as “Highly Confidential.”

Accordingly, pursuant to the terms of the Protective Order, Hartford requests leave to file under

seal certain portions of the Objection and Exhibit B to the Fay Declaration.

               CERTIFICATION PURSUANT TO LOCAL RULE 9018-1(d)

        11.    Pursuant to Local Rule 9018-1(d), counsel for Hartford certifies that counsel to

Hartford and counsel to Debtors as the “Holder of Confidentiality Rights” (as such term is defined

in Local Rule 9018-1) conferred in good faith regarding the scope of material to be redacted from

the Objection, including the Fay Declaration. The redacted version of the Objection and Fay

Declaration that were filed reflect such parties’ agreement regarding the scope of material to be

redacted and remain under seal.



                                                 4
             Case 20-10343-LSS        Doc 5988       Filed 08/12/21   Page 5 of 6




                                        CONCLUSION

       WHEREFORE, Hartford respectfully requests that the Court enter the Proposed Order,

substantially in the form, attached hereto as Exhibit 1, granting the relief requested herein and

such other relief as the Court deems appropriate under the circumstances.

Dated: August 12, 2021                       BAYARD, P.A.
      Wilmington, D.E.
                                             /s/ Gregory J. Flasser___________
                                             Erin R. Fay (No. 5268)
                                             Gregory J. Flasser (No. 6154)
                                             Bayard, P.A.
                                             600 North King Street, Suite 400
                                             Wilmington, D.E. 19801
                                             Tel: (302) 655-5000
                                             Fax: (302) 658-6395
                                             Email: efay@bayardlaw.com
                                                     gflasser@bayardlaw.com

                                             -and-

                                             James P. Ruggeri (admitted pro hac vice)
                                             Joshua D. Weinberg (admitted pro hac vice)
                                             Annette P. Rolain (admitted pro hac vice)
                                             Sara K. Hunkler (admitted pro hac vice)
                                             Shipman & Goodwin LLP
                                             1875 K Street NW, Suite 600
                                             Washington, D.C. 20006
                                             Tel: (202) 469-7750
                                             Fax: (202) 469-7751

                                             -and-

                                             Philip D. Anker (admitted pro hac vice)
                                             Wilmer Cutler Pickering Hale and Dorr LLP
                                             7 World Trade Center
                                             250 Greenwich Street
                                             New York, N.Y. 10007
                                             Tel: (212) 230-8890
                                             Fax: (212) 230-8888

                                             -and-




                                                5
Case 20-10343-LSS   Doc 5988   Filed 08/12/21   Page 6 of 6




                        Danielle Spinelli (admitted pro hac vice)
                        Joel Millar (admitted pro hac vice)
                        Wilmer Cutler Pickering Hale and Dorr LLP
                        1875 Pennsylvania Avenue N.W.
                        Washington, D.C. 20006
                        Tel: (202) 663-6000
                        Fax: (202) 663-6363

                        Attorneys for First State Insurance Company,
                        Hartford Accident and Indemnity Company,
                        Twin City Fire Insurance Company, and Navigators
                        Specialty Insurance Company




                          6
